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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

UNITED SPECIALTY INSURANCE CO. CIVIL ACTION NO. 20-163

VERSUS JUDGE ELIZABETH E. FOOTE

SANDHILL PRODUCTION INC., ET AL. MAGISTRATE JUDGE HORNSBY

                                              TUDGMEN^r

        In accordance with, and for the reasons set forth in, the Court's Memorandum Ruling,


        IT IS ORDERED that Plaintiffs modon for summary judgment [Record Document 22]

be and is hereby GRANTED. Plaintiff has no coverage obligation to Defendant Sandhill


Production Inc. under Policy No. USA4121956, Policy NO. USA4161588, Policy No. USA4219756,

of Policy No. USA4268439 related to the November 1, 2018 CompUance Order No. E-I&E18-1147


or to I^ite I Explorations LLC v. Sandhill Production Inc., el al.. Docket No.: C823-17 in the 31st Judicial


District Court, Parish of Jefferson Davis, State of Louisiana. Because the Court granted Plaintiffs


motion for summary judgment, it issued no ruling on any alternative claims presented in Plaindffs


complaint and these claims against Sandhill Production, Inc. and Wilshire Insurance Company are


DISMISSED as moot.

       IT IS FURTHER ORDERED that any pending motions are hereby DENIED AS

MOOT.

       The Clerk of Court is directed to close this case.


       THUS DONE AND SIGNED in Shreveport, Louisiana, on this <^^| day of May, 2021.


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                                                        ELIZABETH-6RNY FOOTE
                                                        UNITED ?TATEgpISTRICT JUDGE
